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   FEi-ED                         UNITED STATES DISTRICT COURT FOR THE
                                      NORTHERN DISTRICT OF ILLINOIS
   6UJUN     00      2010

   THOMAS G. BRUTON
                                                                            IN FORMA PAUPERIS APPLICATION
CLERK U.S. DISTRI T COURT                                                   AND FINANCIAL AFFIDAVIT


   Plaintiff"
                                                                        18cv39{5
                                                                        Judge Charles R. Norgle,
                                                                        Magisfiate Judge Sidney l. Sctrenkier
    tqS-l,LS     kr*           b<"rK, tJ"h


   Instructions: Please answer every question. Do not leave any blanks. If the answer is "none" or
   "not applicable (N/A)," write that response. Wherever a box is included, place a / in whichever
   box applies. If you need more space to answer a question or to explain your answer, attach an
   additional page that refers to each such question by number and provide the additional
   information. Please print or type your answers.

   Application:\ bc-Jeil"1-q,tn :taltct -1,2r"7\,declarethatl amtheEtplaintiff
   d petition.r                                                                                                        ) in the
   above-entitled case. This affidavit constitutes my application to proceed EI without full
   prepayment of fees, or E in support of my motion for appointment of counsel, or E both. t
   declare that I am unable to pay the costs of these proceedings, and I believe that I am entitled to
   the relief sought in the complaint/petition/motion/appeal. In support of my application,l answer
   the following questions under penalty of perjury.

   l.       Are you currently incarcerated?                                                                E Yes                EI   No
                                                                                                          (If "No" go to question 2.)

            ID #:                              Name of prison or jail:
            Do you receive any payment from the institution?                                               EYes                 trNo
            Monthly amount:

   2.       Are you currently employed?                                                                    El   Yes             BNo
            A.     If the answer is "yes,"state your:
                   Monthly salary or wages.'_
                   Name and address of employer:

            B.          If the answer is"no,"         state your:
                        Beginning and ending dates of last employment:
                        Last monthly salary or wages:

                        Name and address of employer:

   3.       Are you      married?                                                        ( Yes E No
            If the answer is "yes", is your spouse currently                   employed? tr Yeg n & No
                                                                                                 S<Poro+'e             4''tn- 5"Y- .4<ao-
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            Spouse's Monthly salary or wages.' onk
                                               U,
                                                                           ^rt -[cr{y'r|&r
                                                                                           r*f+rr
                   Name and address of employer:
                                                                              tr/*
4.          In addition to yo'ur income stated above in response to Question 2 (which you should not
            repeat here), have you or anyone else living at the same residence received more than
            $200 in the past twelve months from any of the following sources? Place a / next to
            "Yes" or'oNo" in each of the categories A through G , check all boxes that apply in each
            category, and fill in the twelve-month total in each category.

            A.           E Salary or EI wages                                                               E Yes                FNo
                         Total received in the last l2 months:
                         Received by:

            B.           E Business, tr    profession or E other self-employrnent                           E    Yes             .4 *o
                         Total received in the last 12 months:
                         Received by:

            C.           EI Rental income, E interest or E dividends                                        E    Yes             H*o
                         Total received in the Iast l2 months:
                         Received by:

            D.           tr Pensions, E social security, EI annuities, EI life                              E    Yes             {No
                         insurance, tr disability, E workers' compensation,
                         E alimony or maintenance or tr child support
                         Total received in the last l2 rnonths:
                         Received by:

            E.           D Gifts or E     inheritances                                                      E Yes                F*o
                         Total received in the last l2 months:
                         Received by:

            F. E            Unemployment,        E   welfare, or E any other public                         E Yes                F*o
                         assistance
                         Total received in the last 12 months:
                         Received by:

            G.           tr Any other sources (describe source:                                                                  ENo
                         Total received in the last l2 months:
                         Received     by: F<nt

5.          Do you or anyone else living at the same residence have more       E Yes                                             FNo
            than $200 in cash or checking or savings accounts?
            Total amount: _
            In whose name held:                             Relationship to you:




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          Do you or anyone else living at the same residence own any
          stocks, bonds, securities or other financial instruments?             E Yes                                        ENo
          Property:                                   Current value:
          In whose narne held:                               Relationship to you:

          Do you or anyone else living at the same residence own any real estate (with or without a
          mortgage)? Real estate includes, among other things, a house, apartment, condominium,
          cooperative, two-fl at, etc.                                                                  EYes                 ENo
          Type ofproperty and address:
          Current value:                                  Equity:                       (Equity
          is the difference between what the property is worth and the amount you owe on it.)
          In whose name held:                              Relationship to you:
          Amount of monthly mortgage or loan payments:
          Name of person making payments:

8.        Do you or anyone else living at the same residence own any automobiles with a current
          market value of more than $ 1000?                                     Yes       ENo           I
          Year, make and model:
          Current value:                                 EquiIy:                       (Equity
          the difference between what the automobile is worth and the amount you owe on it.)
          Amount of monthly loan payments:
          In whose name held:                              Relationship to you:
          Name of   person making payments:

9.        Do you or anyone else living at the same re.sidence own any boats, trailers, mobile homes
          or other items of personal property with a current market value of more than                               $ 1000?
                                                                                                        EYes                 FNo
          Property:
          Current value:                                  Equity:                       (Equity
          is the difference between what the property is worth and the amount you owe on it.)
          Amount of monthly loan payments:
          In whose name held:                               Relationship to you:
          Name of person making payments:

r0.      List the persons who live with you who are dependent on you for support. State your
         relationship to each person and state whether you are entirely responsible for the person's
         support or the specific monthly amount you contribute to his or her support. If none,
         check here: E[None.




ll.      List the persons who do not live with you who are dependent on you for support. State
         your relationship to each person and state how much you contribute monthly to his or her
         support. If none, check here' \None.




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I declare under penalty of perjury that the above information is true and correct. I understand
that 28 U.S.C. $ l9l5(e)(2)(A) states that the court shall disrniss this case at any time if the
court determines that my allegation of poverty is untrue.

Date: Aut           t- {,          Z   Dlf                   Seie,rLq         q"An : \Dtl.J-cb.ry
            U'

                                                             heur.,r-   1,1   Ann J ort<r .1>ur[
                                                                         {Print Name)"           -

NOTICE TO PRISONERS: In addition to the Certificate below, a prisoner must also attach a
print-out from the institution(_s) where he or she has been in custody during the last six months
showine all receipts. expenditures and balances in the prisoner's prison or jail trust fund
accounts durinq that period. Because the law requires information as to such accounts covering
a full six months before you have filed your lawsuit, you must attach a sheet covering
transactions in your own account - prepared by each institution where you have been in custody
during that six-month period. As already stated, you must also have the Certificate below
completed by an authorized officer at each institution.



                                                        CERTIFICATE
                                       (Incarcerated applicants only)
                             (To be completed by the institution of incarceration)

I certify that the applicant named herein,                              , I.D.#                   has
the sum of $                    on account to his/her credit at (name of institution)
                                      I further certify that the applicant has the following
securities to his/her credit:                    I further certify that during the past six months the
applicant's average monthly deposit was $                          . (Add all deposits from all
sources and then divide by number of months).

Date                                                  Signature of Authorized Officer


(Print Name)




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